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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


 OLIVER LUCK,                                      :     CASE NO. 3:20-cv-00516-VAB
                                                   :
                        Plaintiff,                 :
                                                   :
 v.                                                :
                                                   :
 VINCENT K. MCMAHON,                               :
                                                   :
                        Defendant.                       June 19, 2020
                                                   :


                                                ANSWER

       Defendant Vincent K. McMahon (“McMahon”) respectfully submits this Answer to the

Complaint filed by Plaintiff Oliver Luck (“Luck”).

                                     I.         INTRODUCTION

       1.       The allegations set forth in Paragraph No. 1 constitute Luck’s characterization of

this action to which no response is required. To the extent a response is deemed necessary, the

allegations are denied. It is specifically denied that Luck fulfilled his obligations under the

Employment Contract dated May 30, 2018 (the “Employment Contract”) between him and

Alpha Entertainment LLC (“Alpha”), and as a result he was terminated for cause. McMahon

further denies that Luck has satisfied the conditions precedent for receipt of any severance

payments set forth in the Employment Contract or for the receipt of any bonus payments for any

Contract Year, as defined by the Employment Contract, for which he was not employed by

Alpha on the scheduled payment date.

                                          II.   THE PARTIES

       2.       Admitted.

       3.       Admitted.
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                             III.     JURISDICTION AND VENUE

       4.       Admitted.

       5.       It is admitted that venue in proper in this District, but denied that McMahon

breached any obligations to Luck.

                                IV.     BACKGROUND FACTS

       6.       Admitted.

       7.       The allegations set forth in Paragraph No. 7 are admitted only insofar that

McMahon was the controlling owner of Alpha, which is currently under the jurisdiction of the

United States Bankruptcy Court for the District of Delaware and scheduled to be sold in August

2020. McMahon further responds that the Guaranty dated May 30, 2018 (the “Guaranty”)

attached as Exhibit A to the Employment Contract is a writing, the terms of which speak for

themselves and, on that basis, the remaining allegations set forth in Paragraph 7 are denied.

       8.       The allegations set forth in Paragraph 8 are admitted only insofar that the terms of

the Confidentiality, Non-Solicitation and Non-Competition Agreement dated May 30, 2018

attached as Exhibit B to the Employment Agreement (the “CNNA”) are incorporated by

reference as if fully set forth in the Employment Agreement, and that the Employment

Agreement, the Guaranty and the CNNA are governed by Connecticut law. The remaining

allegations set forth Paragraph 8 constitute legal conclusions to which no response is required.

To the extent a response is deemed necessary, those allegations are denied.

       9.       McMahon responds that the Guaranty is a writing, the terms of which speak for

themselves and, on that basis, the allegations set forth in Paragraph 9 are denied.

       10.      In response to the allegations of Paragraph 10, it is admitted that Luck was

terminated for cause by Alpha pursuant to the termination letter attached as Exhibit 2 to the



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Complaint. It is denied that the termination was wrongful and all other allegations of Paragraph

10, including the statements set forth in Exhibit 3 to the Complaint, are denied.

       11.     Denied.

                                V.      CLAIMS FOR RELIEF

                         COUNT ONE – BREACH OF CONTRACT

       12.     McMahon incorporates by reference all preceding paragraph.

       13.     The allegations set forth in Paragraph 13 constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, those allegations are denied.

By way of further response, the Employment Contract, by its terms, granted Alpha the right to

terminate Luck’s employment at any time, with or without cause, and expressly provided that

Luck’s right to any payments following termination were expressly contingent upon several

expressly stated conditions precedent which were not satisfied, including the absence of

circumstances that would constitute cause.

       14.     The allegations set forth in Paragraph 14 constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, those allegations are denied.

       15.     The allegations set forth in Paragraph 15 constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, those allegations are denied.

                      COUNT TWO – DECLARATORY JUDGMENT

       16.     McMahon incorporates by reference all preceding paragraph.

       17.     The allegations set forth in Paragraph 17 constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, those allegations are denied.

       18.     The allegations set forth in Paragraph 18 constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, those allegations are denied.



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        19.     The allegations set forth in Paragraph 19 constitute legal conclusions to which no

response is required. To the extent a response is deemed necessary, those allegations are denied.

                                    PRAYER FOR RELIEF

        WHEREFORE, McMahon denies that Luck is entitled to any of the relief requested in

the Complaint and McMahon respectfully requests that this Honorable Court enter judgment in

McMahon’s favor, and against Luck, and award to McMahon all relief to which he may be

entitled.

JURY TRIAL DEMANDED




                                                     DEFENDANT VINCENT K. MCMAHON

                                                     By: /s/ Jerry S. McDevitt
                                                     Jerry S. McDevitt (pro hac vice)
                                                     Curtis B. Krasik (pro hac vice)
                                                     K&L GATES LLP
                                                     K&L Gates Center
                                                     210 Sixth Avenue
                                                     Pittsburgh, PA 15222
                                                     Phone: (412) 355-6500
                                                     Fax: (412) 355-6501
                                                     Email: jerry.mcdevitt@klgates.com
                                                     Email: curtis.krasik@klgates.com

                                                     Jeffrey P. Mueller (ct27870)
                                                     DAY PITNEY LLP
                                                     242 Trumbull Street
                                                     Hartford, CT 06103
                                                     Phone: (860) 275-0100
                                                     Fax: (860) 275-0343
                                                     Email: jmueller@daypitney.com




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                               CERTIFICATION OF SERVICE

        I hereby certify that on June 19, 2020, a copy of the foregoing was filed electronically
and served on anyone unable to accept electronic filing. Notice of this filing will be sent by
email to all parties by operation of the Court’s electronic filing system, or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF system.




                                                     /s/ Jeffrey P. Mueller




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